21-30067-hcm Doc#33 Filed 02/22/21 Entered 02/22/21 08:53:40 Main Document Pg 1 of 5




  The relief described hereinbelow is SO ORDERED.



  Signed February 22, 2021.

                                                              __________________________________
                                                                     H. CHRISTOPHER MOTT
                                                              UNITED STATES BANKRUPTCY JUDGE
  ________________________________________________________________


                          IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                      EL PASO DIVISION

   In re:                                           §
                                                    §        Case No.: 21-30067
   5401 Montoya Dr. El Paso                         §        Chapter 11
   Texas, LLC                                       §
                                                    §
                                     Debtor.        §


                   INTERIM ORDER AUTHORIZING USE OF CASH COLLATERAL

            This matter came before the Court on February 19, 2021, for interim hearing on the Debtor-In-

   Possession’s Amended Motion to Authorize the Use of Cash Collateral (Dkt#19) filed February 11,

   2021(the “Motion”). Upon consideration of the Motion, representations of counsel at the Preliminary

   Hearing and all other matters of record, the Court hereby finds:


       A. The Debtor filed its petition for relief under Chapter 11 of the Bankruptcy Code on February 1,

            2021 (the “Petition Date”). Pursuant to Sections 1107 and 1108 of the Bankruptcy Code, the Debtor

            remains in possession of its assets and has continued the operation and management of the business

            in this reorganization case.




                                                        1
21-30067-hcm Doc#33 Filed 02/22/21 Entered 02/22/21 08:53:40 Main Document Pg 2 of 5



      B. The Court has jurisdiction over the Motion pursuant to 28 U.S.C. § 1334. This is a core proceeding

           pursuant to 28 U.S.C. §§ 157(b)(2), involving matters under 11 U.S.C. § 1408.

      C. The Debtor asserts that it owns a group home which provides a commercial residence to senior

           citizens and that the home capacity is six residents and a staff member. Mr. Giron, sole member of

           the Debtor LLC in this case, maintains residence there as well.

      D. The Debtor asserts that it is party, as borrower, to that certain Renewal and Extension Deed of Trust

           dated November 18, 2019 with El Paso National Mortgage, LLC (“Lender”). The Debtor further

           asserts that the Debtor executed a promissory note in favor of Lender. As of the Petition Date, the

           Debtor asserts that the outstanding balance owed to Lender is approximately $364,828.39.

      E. The Debtor asserts that Debtor’s real property is also subject to a lien held by the City of El Paso

           for ad valorem taxes in the amount of $11,848.53 (Claim#1).

      F. The revenue from the Business may constitute Cash Collateral as that term is defined in 11 U.S.C.

           § 363 (the “Cash Collateral”). The Debtor believes that Lender and the City of El Paso may assert

           an interest in the Cash Collateral.

      G. The Debtor asserts that it has provided actual notice of the Motion and the relief requested to the

           Lender, to each of Debtor’s Twenty Largest Unsecured Creditors and the United States Trustee and

           Chapter 11 Subchapter V Trustee.

      H. The Debtor alleges that an immediate need exists for the Debtor to obtain use of the Cash Collateral

           to fund critical operations of the Business. A schedule of the Debtor’s revenues and cash

           requirements for the next 13 weeks is set forth in the budget (the “Budget”) attached to this Order

           as Exhibit “A.”

      I.   The Debtor alleges that in order to continue the Debtor’s operations and to preserve the value of

           Debtor’s assets, the Debtor requires the use of Cash Collateral in accordance with this Order.

      J.   Good cause has been shown for entry of this Order and authorization for Debtor to use cash

           collateral pending the final hearing on the Cash Collateral Motion pursuant to Bankruptcy Rule

           4001(b) (the “Final Hearing”). Among other things, entry of this Order will minimize disruption


                                                       2
21-30067-hcm Doc#33 Filed 02/22/21 Entered 02/22/21 08:53:40 Main Document Pg 3 of 5



         of the Business, will increase the possibility for a successful reorganization, and is in the best

         interest of the Debtor, its creditors and other parties-in-interest.

         Accordingly, it is hereby

         ORDERED, ADJUDGED AND DECREED:

         1. The Motion is GRANTED on an interim basis. Subject to the terms hereof, this Order is

             effective immediately.

         2. The Debtor is authorized to use of the Cash Collateral as set forth in the Budget from the date

             of the entry of this Order through and including the date of final hearing on the Motion (the

             “Interim Period”). The Interim Period may be extended by further order of the Court. The

             Debtor shall make adequate protection payments to the Lender of $3,623.38 starting March 1,

             2021 and the first day of each month thereafter.

         3. In order to provide adequate protection for the Debtor’s use of the Cash Collateral authorized

             hereunder, the Lender and any other secured creditor, to the extent they hold valid liens,

             security interests, or rights of setoff as of the Petition Date under applicable law, are hereby

             granted valid and perfected liens (the “Adequate Protection Liens”) on all property acquired by

             the Debtor after the Petition Date that is the same or similar nature, kind, or character as each

             Lender’s respective pre-petition collateral, to the extent of any diminution in value of the Cash

             Collateral, except that no such replacement liens shall attach to the proceeds of any avoidance

             actions under Chapter 5 of the Bankruptcy Code. The Adequate Protection Liens shall be

             deemed automatically valid and perfected upon entry of this Order.

         4. Nothing herein shall be construed as a finding or conclusion that the Lender or Debtor or any

             other party holds a valid security interest, lien, or any interest in any of the Debtor’s assets, and

             all parties’ rights with respect to such issues is reserved.

         5. This Order is entered without prejudice to the rights of either the Lender or the Debtor to seek

             a modification of the terms hereof after notice and a hearing, and without prejudice to the right

             of Debtor to object to any claim.


                                                        3
21-30067-hcm Doc#33 Filed 02/22/21 Entered 02/22/21 08:53:40 Main Document Pg 4 of 5



         6. The Court shall hold a final hearing on the Motion as follows: Final Hearing will be held on

             March 10, 2021 at 1:30 p.m. MT by Webex. Any objections to the Motion shall be filed by

             March 5, 2021. Debtor shall provide notice of Final Hearing in accordance with Bankruptcy

             Rule 4001(b).

         7. The instant Order shall remain valid until such hearing, or any continuation thereof, has been

             held and a ruling entered.

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             Prepared by:
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                                                    4
21-30067-hcm Doc#33 Filed 02/22/21 Entered 02/22/21 08:53:40 Main Document Pg 5 of 5
